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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                     CYBER TECHNOLOGIES LIMITED’S
                                                 ADMINISTRATIVE MOTION TO FILE
14         v.                                    UNDER SEAL
15   NSO GROUP TECHNOLOGIES LIMITED              Judge: Hon. Phyllis J. Hamilton
     and Q CYBER TECHNOLOGIES LIMITED,
16                                               Action Filed: 10/29/2019
                 Defendants.
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       DEFENDANTS’ ADMINISTRATIVE                                     Case No. 4:19-cv-07123-PJH
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 1            Pursuant to Civil Local Rules 7-11 and 79-5(d), Defendants NSO Group Technologies

 2 Limited and Q Cyber Technologies Limited (collectively, the “Defendants”), by and through their

 3 undersigned counsel, hereby submit this Administrative Motion to File Under Seal (the “Motion”)

 4 (i) green highlighted portions of the parties’ Joint Letter Regarding Plaintiffs’ Communications

 5 with Law Enforcement (the “Joint Letter Brief”); (ii) green highlighted portions of Plaintiffs’

 6 Responses and Objections to Defendants’ Second Set of Interrogatories and (iii) excerpts of the

 7 Deposition of Tamir Gazneli (hereinafter referenced as the “Sealed Documents”). The Sealed

 8 Documents are submitted to the Court in connection with the parties’ Joint Letter Brief and filed
 9   concurrently herewith as attachments to Defendants Administrative Motion to Consider Whether

10   Another Party’s Material Should Be Sealed. 1

11   I.       LEGAL STANDARDS

12            Although courts recognize a general right to inspect and copy public records, “access to

13   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

14   (9th Cir. 2006). The showing necessary to seal materials depends on how closely related those

15 materials are to the merits of the case. A party seeking to seal materials submitted with a motion

16 that is “more than tangentially related to the merits of the case” must demonstrate that there are

17 compelling reasons to keep the documents under seal. Ctr. for Auto Safety v. Chrysler Grp., LLC,

18 809 F.3d 1092, 1101–02 (9th Cir. 2016). On the other hand, “[a] party seeking leave to file
19 documents under seal in conjunction with a non-dispositive motion” need only show “good cause

20 exists to file the information under seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-

21 cv-00362-PJH, 2018 WL 2392561, at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the

22   “good cause” standard, the relevant inquiry is “whether good cause exists to protect the

23   information from being disclosed to the public by balancing the needs for discovery against the

24   need for confidentiality.” Wells Fargo & Co. v. ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013

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     1
    Pursuant to Civil Local Rule 79-5(f)(5), this Motion addresses only portions of the Sealed
26 Documents as to which Defendants bear the burden to demonstrate the propriety of sealing.
   Concurrently   herewith, Defendants have filed an Administrative Motion to Consider Whether
27
   Another Party’s Material Should Be Sealed, which addresses portions of the Joint Letter Brief and
28 Exhibits as to which Plaintiffs bear the burden to demonstrate the propriety of sealing.
     DEFENDANTS’ ADMINISTRATIVE                        1                     Case No. 4:19-cv-07123-PJH
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 1   WL 897914, at *1 (N.D. Cal. Mar. 8, 2013) (Hamilton, J.).

 2          Here, Defendants seek to file under seal materials that are not related to a dispositive

 3 motion. Accordingly, the “good cause” standard applies to this Motion. “Good cause” requires

 4 only “a particularized showing” that sealing is appropriate, which “will suffice to seal documents

 5 produced in discovery.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180 (9th Cir.

 6 2006). Even if the higher “compelling reasons” standard applied, that standard is met here.

 7 II.      LEGAL ARGUMENT

 8          This Motion is supported by good cause (and to the extent required, by compelling reasons)

 9 based on the facts attested to in the Craig Declaration. The Sealed Documents contain confidential

10 business information and highly sensitive, non-public information, the disclosure of which would

11 prejudice Defendants and other parties not before the Court. See, e.g., Compal Elecs., Inc. v. Apple

12 Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari v. Ras Al Khaimah Free Trade

13 Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017); Strauss v. Credit Lyonnais, S.A.,

14 2011 WL 4736359, at *5 (E.D.N.Y. Oct. 6, 2011); In re Sony Gaming Networks & Customer Data

15 Sec. Breach Litig., 2015 WL 13653885, at *1 (S.D. Cal. Jan. 20, 2015) (granting motion to file

16 under seal where the records related “to confidential business plans and operations,” were “subject

17 to a contractual duty of confidentiality,” and where “harm could result to Defendants’ business

18 operations” if the information were prematurely disclosed).
19          Courts have routinely held that confidential business information satisfies the higher

20 “compelling reasons” standard. See In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal.

21 Nov. 8, 2017) (concluding that the parties established compelling reasons to file under seal records

22 that implicate “confidential business information” subject to confidentiality agreements); Jones v.

23 PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023).

24          Good cause exists to seal the Sealed Documents, and Defendants respectfully request that

25 the Court grant this Motion and order the Sealed Documents be kept under seal. Defendants have

26 closely analyzed the Sealed Documents and are asking the Court to file under seal only the bare

27 minimum amount necessary.

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 1   III.   CONCLUSION

 2          For the reasons set forth above and in the accompanying Craig Declaration, Defendants

 3   respectfully request that the Court grant this Motion and order the Sealed Documents to be kept

 4   under seal.

 5          Should the Court deny the Motion, in whole or in part, Defendants request that any portions

 6   of the Sealed Documents for which sealing was both requested and denied be considered

 7 withdrawn and that any such information not be publicly filed.

 8
 9   DATED: September 20, 2024                       KING & SPALDING LLP
10                                                   By: /s/Aaron S. Craig
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11
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                                                         TECHNOLOGIES LIMITED and Q
13                                                       CYBER TECHNOLOGIES LIMITED

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       DEFENDANTS’ ADMINISTRATIVE                    3                        Case No. 4:19-cv-07123-PJH
       MOTION TO FILE UNDER SEAL
